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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                    CRIMINAL ACTION
v.                                          )
                                            )                    No. 12-20083-03-KHV
SADIE JOLYNN BROWN,                         )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion To Allow Defendant To Withdraw

Plea (Doc. #1561) filed November 18, 2014. For reasons stated below, the Court overrules

defendant’s motion.

                                        Legal Standards

       After the Court accepts a plea, but before it imposes sentence, a defendant may withdraw a

plea of guilty if she shows a “fair and just reason for requesting the withdrawal.” Fed. R. Crim.

P. 11(d)(2)(B). In analyzing whether defendant has shown a fair and just reason for withdrawal, the

Court ordinarily considers the following factors:

       (1) whether the defendant has asserted [her] innocence; (2) whether withdrawal
       would prejudice the government; (3) whether the defendant delayed in filing [her]
       motion, and if so, the reason for the delay; (4) whether withdrawal would
       substantially inconvenience the court; (5) whether close assistance of counsel was
       available to the defendant; (6) whether the plea was knowing and voluntary; and (7)
       whether the withdrawal would waste judicial resources.

United States v. Sandoval, 390 F.3d 1294, 1298 (10th Cir. 2004) (citations omitted). Unless a

defendant shows a fair and just reason for withdrawal, the Court need not consider prejudice to the

government. United States v. Hickok, 907 F.2d 983, 986 (10th Cir. 1990). A plea of guilty is “a

solemn act not to be disregarded because of belated misgivings about its wisdom.” United States
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v. Green, 521 F.3d 929, 931 (8th Cir. 2008) (quotations and citations omitted).

                                             Analysis

I.     Defendant’s Assertion Of Innocence

       The mere assertion of innocence is insufficient unless defendant presents some credible

claim of legal innocence. See United States v. Byrum, 567 F.3d 1255, 1264 (10th Cir. 2009); United

States v. Hamilton, 510 F.3d 1209, 1214 (10th Cir. 2007); see also United States v. Hickok, 907 F.2d

983, 985 n.2 (10th Cir. 1990) (assertion of subjective belief in defendant’s own innocence does not

mandate withdrawal of guilty plea). As defendant notes, she does not assert that she is innocent of

the charges. Defendant has apparently had a change of heart about the deal which she struck with

the government in light of the relationship between her guideline range and the statutory minimum

punishment. Defendant’s change of heart, without more, is insufficient. See Byrum, 567 F.3d at

1265; Hickok, 907 F.2d at 986. This factor favors the government.

II.    Prejudice To Government

       Some degree of prejudice is inevitable when the Court permits a defendant to withdraw her

plea. This factor slightly favors the government.

III.   Unreasonable Delay

       Defendant entered her guilty plea on February 28, 2013, but she waited more than 20 months

to file her motion to withdraw her plea until shortly before sentencing. The delay is not reasonable.

See, e.g., United States v. Gibson, 176 F.3d 489, 1999 WL 298181, at *3 (10th Cir. 1999) (Table)

(three-month delay weighed against defendant); United States v. Rowzer, 80 F. Supp.2d 1212, 1219

(D. Kan. 1999) (delay of eight weeks too long), aff’d, 18 Fed. Appx. 702 (10th Cir. 2001); United

States v. Stewart, 51 F. Supp.2d 1147, 1152 (D. Kan. 1999) (delay of six weeks unreasonable), aff’d,


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215 F.3d 1338 (10th Cir. 2000). This factor favors the government.

IV.    Inconvenience To Court

       The fourth factor favors the government because any withdrawal of a plea is inconvenient

to the Court. Further, defendant waited until after the Court conducted a lengthy trial of her co-

defendants to enter a plea and delayed filing her motion to withdraw until shortly before sentencing.

The inconvenience weighs against withdrawal of the plea.

V.     Whether Close Assistance Of Counsel Was Available

       At the change of plea hearing, defendant stated that she was satisfied with the representation

by counsel, Jeffrey Leiker. In March of 2014, some 12 months after her plea of guilty, defendant

alleged that Mr. Leiker provided ineffective assistance because he did not fully investigate the case

before she pled guilty and he did not routinely communicate with defendant after the change of plea

hearing. Based on defendant’s allegations, the statements of defendant and Mr. Leiker that

communications had completely broken down, and the fact that sentencing was not scheduled for

some three months, on July 10, 2014, Magistrate Judge James P. O’Hara granted defendant’s request

for new counsel and appointed James Campbell. Since April 14, 2014, defendant has had the

assistance of Mr. Campbell to discuss any potential issues related to prior counsel and the upcoming

sentencing. On balance, this factor is neutral.

VI.    Voluntariness Of Plea

       The sixth factor, whether the plea was knowing and voluntary, strongly favors the

government. To ascertain whether defendant knowingly and voluntarily entered her plea, the Court

evaluates the language of the plea petition and the Rule 11 colloquy. Here, Judge O’Hara conducted

a thorough inquiry at the plea hearing. At that time defendant affirmed that she understood the


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charges against her, the mandatory minimum prison term of 10 years, the rights which she was

waiving and the factual basis for her plea. Defendant acknowledged that no one had forced or

threatened her to enter the plea and that the reason she was making it was that she was in fact guilty

as charged. In sum, the language of the plea petition and the Rule 11 colloquy establishes that

defendant’s plea was knowing and voluntary.

       Based on a review of the plea agreement and the colloquy with defendant at the change of

plea hearing, the Court finds that defendant fully understood that she was subject to a statutory

minimum sentence of 10 years in prison and a maximum sentence of life in prison. See Plea

Agreement (Doc. #328) ¶ 1. Defendant did not previously claim any misunderstanding with Mr.

Leiker on this issue. Indeed, some eight months ago, defendant acknowledged that she signed a plea

agreement “with a minimum mandatory sentence of 10 years.” Complaint filed with Kansas

Disciplinary Administrator at 5, attached to defendant’s Motion To Appoint New Counsel (Doc.

#1227) filed March 19, 2014. Defendant does not explain why she did not raise this issue

immediately after she received the preliminary presentence investigation report on March 18, 2014

or the final presentence investigation report on July 11, 2014. Both of those reports calculated a

guideline range of 87 to 108 months, but noted that because the statutory minimum of 120 months

was greater than the maximum of the applicable range, the guideline term of imprisonment was

120 months. Defendant had an opportunity to raise this issue at the hearing on April 11, 2014 before

Judge O’Hara, but she did not so. Indeed, at that hearing, defendant stated that she did not intend

to withdraw her plea and that she understood that even with a new attorney, the sentencing set for

July 10, 2014 would likely go forward as planned. Defendant did not express any surprise by the

120-month sentence which was suggested in the presentence investigation report and she did not


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include that matter as a basis for her motion for new counsel. At the hearing on defendant’s motion

for new counsel, Judge O’Hara noted that defendant had really suffered no prejudice from counsel’s

alleged performance. Judge O’Hara granted defendant’s motion for new counsel primarily because

of the breakdown in communication between counsel and defendant, not because of any finding that

Mr. Leiker provided ineffective assistance.

       Defendant claims that she was induced to enter the plea agreement by the government’s

promise that it would recommend an additional two-level reduction in her offense level for early

acceptance. Defendant argues that the government’s promise was “meaningless” because she was

subject to a mandatory minimum sentence. As explained above, defendant understood that the

mandatory minimum sentence was 10 years in prison. In other words, defendant knew that the

government’s recommendation would only impact her sentence if her guideline range was above the

10-year mandatory minimum. In addition, at the change of plea hearing, defendant acknowledged

that no one could guarantee that she would receive any benefit in terms of her sentence as a result

of her decision to plead guilty.

       Defendant essentially argues that counsel erroneously predicted that her sentencing range

would be greater than 120 months such that the additional two-level reduction for an early plea

would be meaningful. An erroneous guideline estimate, like an erroneous sentence estimate, does

not render a plea involuntary. See United States v. Bridges, 68 Fed. Appx. 896, 900 (10th Cir. 2003)

(plea voluntary; prediction of no more than 60 months, sentence of 175 months); Wellnitz v. Page,

420 F.2d 935, 936 (10th Cir. 1970) (plea voluntary; prediction of 25 years, sentence of 100 years);

see also United States v. Gonzalez, 209 Fed. Appx. 842, 846 (10th Cir. 2006) (erroneous estimate

of nine to 15 years in prison does not invalidate plea despite life sentence); Fields v. Gibson, 277


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F.3d 1203, 1213-14 (10th Cir. 2002) (plea voluntary when attorney advised defendant that plea

would lessen chance of death penalty and court nevertheless imposed death penalty); Braun v. Ward,

190 F.3d 1181, 1189 (10th Cir. 1999) (plea voluntary because defendant took chances by relying on

attorney’s good-faith advice and no evidence of guarantees or promises); Cunningham v. Diesslin,

92 F.3d 1054, 1061 (10th Cir. 1996) (defendant’s subjective understanding not based upon promise

made by defense attorney, prosecutor or court will not undermine constitutionality of plea); Thomas

v. Kerby, 44 F.3d 884, 886 (10th Cir. 1995) (counsel may have estimated and petitioner may have

expected sentence substantially less than 20 years imposed but such circumstances do not invalidate

plea or render it involuntary); Stout v. United States, 508 F.2d 951, 953 (6th Cir. 1975) (plea not

involuntary merely because prediction that guilty plea would result in light sentence did not come

true).1 Here, the presentence report calculated defendant’s offense level at 29, subject to a two-level

departure based on defendant’s early plea for a final revised offense level of 27, which is near the

middle of the range that Mr. Leiker predicted.2 Accordingly, counsel’s advice to accept the early


       1
                The Supreme Court has noted that “[w]aiving trial entails the inherent risk that the
good-faith evaluations of a reasonably competent attorney will turn out to be mistaken either as to
the facts or as to what a court’s judgment might be on given facts. That a guilty plea must be
intelligently made is not a requirement that all advice offered by the defendant’s lawyer withstand
retrospective examination in a post-conviction hearing.” McMann v. Richardson, 397 U.S. 759, 770
(1970); see also United States v. Broce, 488 U.S. 563, 572 (1989) (possibility that plea might have
been influenced by erroneous assessment of sentencing consequences did not render plea invalid);
Brady v. United States, 397 U.S. 742, 757 (1970) (absent misrepresentation or other impermissible
conduct by state agents, voluntary plea of guilty intelligently made in light of then applicable law
does not become vulnerable because later judicial decisions indicate that plea rested on faulty
premise).
       2
               In defendant’s factual statement (Doc. #1227-1) in support of her motion for new
counsel filed March 19, 2014, she complained that Mr. Leiker gave her a vague answer when she
asked him about her offense level. Defendant reported that Mr. Leiker told her that her offense level
could be as high as 32-36 or as low as 18-22 but that he would not know for sure until he received
                                                                                       (continued...)

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plea deal, which was apparently based in part on a prediction that defendant may be subject to a

sentencing range of more than 120 months, was not deficient.

        Defendant claims that Mr. Leiker should have secured the government’s agreement to

recommend a sentence at the low end of the guideline range. See Motion To Allow Defendant To

Withdraw Plea (Doc. #1561) at 6. Defendant has not shown that the government routinely agrees

to such provisions in similar cases. In the plea agreement, the government did agree not to

recommend a sentence greater than the high end of the sentencing guideline range in exchange for

defendant’s agreement not to request a sentence lower than the low end of the sentencing guideline

range. See Plea Agreement (Doc. #834) ¶ 4. In the plea agreement, the government also agreed that

at the time of sentencing, it would move to dismiss the remaining counts of the Superseding

Indictment and that it would not file any additional charges against defendant arising out of the facts

forming the basis of the Superseding Indictment. See Plea Agreement (Doc. #834) ¶¶ 1, 6a. The

plea agreement, which includes provisions similar to those in other plea agreements before the

undersigned judge, is not so one-sided as to suggest that defense counsel was deficient by advising

defendant to enter into it.3


        2
           (...continued)
the PSI.
        3
               Defendant also argues that the presentence investigation report does not address the
additional two level reduction for early acceptance of a plea, see Motion To Allow Defendant To
Withdraw Plea (Doc. #1561) at 6, but the report specifically address the issue as follows:

        The probation officer has identified the following as potential grounds for departure:
        5K3.1 Early Disposition Programs. Pursuant to the plea agreement, the Government
        has recommended the defendant’s offense level be reduced by two additional levels,
        in the same manner as the reduction for acceptance of responsibility, pursuant to the
        policy established by the United States Attorney for the District of Kansas
                                                                                        (continued...)

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       This factor strongly favors the government.

VII.   Waste Of Judicial Resources

       The seventh factor slightly favors the government because any withdrawal of a plea wastes

judicial resources.

VIII. Balance of Factors

       After carefully balancing the above factors, the Court overrules defendant’s motion to

withdraw her plea of guilty. In sum, defendant has not shown a “fair and just reason for requesting

the withdrawal” of her plea. Fed. R. Crim. P. 11(d)(2)(B).

       IT IS THEREFORE ORDERED that defendant’s Motion To Allow Defendant To

Withdraw Plea (Doc. #1561) filed November 18, 2014 be and hereby is OVERRULED.

       Dated this 25th day of November, 2014 at Kansas City, Kansas.

                                                       s/ Kathryn H. Vratil
                                                       Kathryn H. Vratil
                                                       United States District Judge




       3
        (...continued)
       concerning early pleas in this particular complex case.

Presentence Investigation Report (Doc. #1414) ¶ 202.

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